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     [Stipulating parties listed on signature page]
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                                     UNITED STATES DISTRICT COURT
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                               NORTHERN DISTRICT OF CALIFORNIA
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                                        SAN FRANCISCO DIVISION
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   IN RE: CATHODE RAY TUBE (CRT)                        MASTER FILE NO. 07-cv-5944 SC
13 ANTITRUST LITIGATION                                 MDL NO. 1917

14                                                      STIPULATION AND [PROPOSED]
                                                        ORDER REGARDING PANASONIC
15 This Document Relates to: ALL INDIRECT               DEFENDANTS’ SUPPLEMENTAL
   PURCHASER ACTIONS                                    RESPONSES TO INDIRECT
16                                                      PURCHASER PLAINTIFFS’ FIRST SET
                                                        OF INTERROGATORIES AND
17                                                      EXTENDING DEADLINE TO FILE
                                                        MOTION TO COMPEL
18
            This Stipulation and Proposed Order between the Indirect-Purchaser Plaintiffs ( “IPPs”)
19
     and Panasonic Corporation, f/k/a Matsushita Electric Industrial Co., Ltd. (“Panasonic Corp.”),
20
     Panasonic Corporation of North America (“PNA”), and MT Picture Display Co., Ltd. (“MTPD”)
21
     (collectively, “Panasonic Defendants”) (together, the “Parties”) is made with respect to the
22
     following facts and recitals:
23
            WHEREAS, the IPPs and the Panasonic Defendants have met and conferred and have
24
     resolved all outstanding discovery issues with regard to IPPs’ motion to compel supplemental
25
     responses from the Panasonic Defendants to IPPs’ First Set of Interrogatories to all Defendants
26
     (“Interrogatories”), which was filed with the Special Master on September 12, 2014;
27
            WHEREAS, the Panasonic Defendants have agreed to supplement their responses to
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     STIPULATION AND [PROPOSED] ORDER EXTENDING THE DEADLINE TO FILE A MOTION TO COMPEL
                                MDL No. 1917; Case No. 07-cv-5944 SC
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 1 Interrogatory No. 7, as it relates to their affirmative defenses Nos. 21-41;

 2          WHEREAS, Panasonic Defendants have also agreed to supplement their responses to

 3 Interrogatory Nos. 8, 9, 10, 11, 12, 15, 16, 18, 22, 23 and 24;

 4          WHEREAS, the Panasonic Defendants agree to supplement their responses to the above-

 5 described Interrogatories by October 17, 2014;

 6          WHEREAS, the Panasonic Defendants agree to extend the deadline by which the IPPs

 7 may file a motion to compel regarding the Panasonic Defendants’ supplemental responses to the

 8 above-described Interrogatories to October 24, 2014; and

 9          WHEREAS, the IPPs hereby withdraw their September 12, 2014 motion to compel

10 supplemental interrogatory responses from the Panasonic Defendants.

11          IT IS HEREBY STIPULATED AND AGREED between the undersigned counsel that:

12          1. The Panasonic Defendants will serve supplemental responses to the IPPs’ Interrogatory

13               Nos. 7 (regarding affirmative defenses Nos. 21-41), 8, 9, 10, 11, 12, 15, 16, 18, 22, 23

14               and 24, no later than October 17, 2014;

15          2.    The IPPs may file a motion to compel regarding the Panasonic Defendants’

16               supplemental responses to the IPPs’ Interrogatory Nos. 7 (regarding affirmative

17               defenses Nos. 21-41), 8, 9, 10, 11, 12, 15, 16, 18, 23 and 24, no later than October 24,

18               2014; and

19          3. The IPPs withdraw their September 12, 2014 motion to compel supplemental

20               interrogatory responses from the Panasonic Defendants.

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22          The undersigned Parties jointly and respectfully request that the Court enter this stipulation

23 as an order.

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     STIPULATION AND [PROPOSED] ORDER EXTENDING THE DEADLINE TO FILE A MOTION TO COMPEL
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 1 Dated: September 26, 2014              TRUMP, ALIOTO, TRUMP & PRESCOTT LLP

 2

 3                                        _/s/ Lauren C. Capurro__________
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 4                                        Lauren C. Capurro (Russell) (241151)
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 8                                        Lead Counsel for Indirect Purchaser Plaintiffs
 9

10
     Dated: September 26, 2014            WEIL, GOTSHAL & MANGES LLP
11
                                          By: /s/ Adam C. Hemlock
12

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                                          ADAM C. HEMLOCK (pro hac vice)
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26                                        Attorneys for Defendants Panasonic Corporation
                                          (f/k/a Matsushita Electric Industrial Co., Ltd.),
27                                        Panasonic Corporation of North America, and MT
                                          Picture Display Co., Ltd.
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     STIPULATION AND [PROPOSED] ORDER EXTENDING THE DEADLINE TO FILE A MOTION TO COMPEL
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                                                                   ISTRIC
 1 PURSUANT TO STIPULATION, IT IS SO ORDERED.
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          October 22                                            APPRO
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                                                       Hon. Samuel Conti
 5                                                     United States District Judge
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     STIPULATION AND [PROPOSED] ORDER EXTENDING THE DEADLINE TO FILE A MOTION TO COMPEL
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 1                                       ECF CERTIFICATION

 2         Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
 3 document has been obtained from each of the above signatories.

 4

 5 Dated: September 26, 2014                       _/s/ Lauren C. Capurro__________
                                                   Mario N. Alioto (56433)
 6
                                                   Lauren C. Capurro (Russell) (241151)
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10
                                                   Lead Counsel for the Indirect Purchaser
11                                                 Plaintiffs

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     STIPULATION AND [PROPOSED] ORDER EXTENDING THE DEADLINE TO FILE A MOTION TO COMPEL
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